Case 1:12-CV-01735-RC Document 1 Filed 10/24/12 Page 1 of 10

IN THE UNITED STATES I)ISTRICT COURT
FOR THE DISTRIC'I` OF COLUMBIA

AKEISHA TURNER

A/K/A JEWEL

9949 Shoshone Way
Ra.ndaflstown, Mary]and 21333

And

JENESE MITCHELL
A/K/A BARBIB

4277 53°1“ Avenue, Ap:. T2
Bladensburg, Mary}and 20710

On Behalfof Themselves and
All Others Similarl_]) situated

PLAINTIFFS

v. Case No.:
LINDA AND A., INC
D/B/A THE HOUSE
3530 Georgia Ave. N.W.
Washington, D.C. 20010

SERVE: CYRENE ALLEN
1721 0 Queen Arme Road
Upper Marlboro, Maryland 20774

And

DARRELL ALLEN
17210 Queen Anne Road
Upper Marlboro, Mary]and 20774

And
CYRENE ALLEN

17'210 Queen Anne Road
Upper Marlboro, Maryla.nd 20774

'X-')f-l(-)&%-X-*%*'X'-X-X~X"X'~X-)Gi€-%'K-%%%%*%%%*%*%*%*%%%%%%-3$

DEFENDANTS.

=l¢=!<=|=$$=Z=****>I<*$>I<******>I¢>l=***=k>k*=k=!=*=|==i==!==l<>!=*=k>!==|=*>i<=!<*=I==I==|==I¢*******>Z<**>I=***$=i<******=k*

COLLECTIVE ACTION COMPLAINT

Case 1:12-cV-01735-RC Document 1 Filed 10/24/12 Page 2 of 10

Plaintiffs Akeisha Turner a/k/a JeWel (“Turner”) and Jenese Mitchell a/k/a Barbie (together,
“Plaintiffs”) by and through their undersigned counsel, on behalf of themselves and all others similarly
situated, hereby submit their Collective Action Cornplaint against Defendants Linda and A., Inc. t/a/ The
House (“House”), Darrell Allen (“Mr. Allen”), and Cyrene Allen (“Mrs. Allen”) (collectively
“Defendants”) to recover damages under the F ederal Fair Labor Standards Act of l938, as arnended, 29
U.S.C. §§ 201 et Seq. (“FLSA”) and the D.C. Minirnurn Wage Act Revision Act of 1992, D.C. Code
§§ 32-l001 er seq. (“DCMWA”) as set forth below.

PARTIES AND JURISDICTION

l. Plaintiffs are adult residents of the State of Maryland. Each Plaintit`t`s Written consent to
participate as a Plaintiff in a case under the FLSA is attached hereto as Exhibit l.

2. House is a corporation formed under the laws of the District of Colurnbia With its

principal place of business in the District of Columbia.

3. House is in the business of operating a nightclub and bar featuring nude exotic dancers.
4. Mr. Allen is the principal owner and president of House.
5. At all times, Mr. Allen held a substantial financial interest in House, Was Plaintiffs’

supervisory participated in the day-to-day operation of the nightclub, and substantially participated in
determining Plaintiffs’ rate and method of pay.

6_ At all times, Mrs. Allen held a substantial financial interest in House, participated in the
day-to-day operation of the nightclub, substantially participated in determining Plaintiffs’ rate and

method ofpay, and Was in charge of keeping and maintaining all employment records relating to

Plaintii`fs.
7. At all times relevant, all three (3) Defendants Were Plaintit`fs’ “ernployers” for purposes
of the FLSA and DCMWA.

Case 1:12-cV-01735-RC Document 1 Filed 10/24/12 Page 3 of 10

8. During Plaintiffs’ employrnent, House was engaged in commerce or in the production of
goods for commerce within the meaning of § 3(5)(1) of the FLSA (29 U.S.C. § 203(s)(l)).

9. At all times relevant, House qualified as an “enterprise” within the meaning of § 3(r) of
the FLSA (29 U.S.C. § 203(r)).

10. At all times relevant, each Plaintiff Was an individual employee engaged in commerce or
the production of goods for commerce as required by 29 U.S.C. §§ 206-207.

ll. 'l`his Court has jurisdiction over Defendants pursuant to § l6(b) of the FLSA, 29 U.S.C. §
216(b), and 28 U.S.C. § 1337 relating to “any civil action or proceeding arising under any act of
Congress regulating commerce.” Subject matter jurisdiction is invoked under 28 U.S.C. § 1331 (Federal
Question). Venue in this Court is proper pursuant to 28 U.S.C. § l39l(b).

.EA_CI..§
12. Turner was employed by Defendants as an exotic dancer at Defendants’ House exotic
dance club for the time period of about 1999 through about September 21, 2012.
13. Mitchell Was employed by Defendants as an exotic dancer at Defendants’ House exotic
dance club for the time period of about July l, 20ll through October 20, 2012.

14. While in Defendants’ employ, Turner regularly and customarily worked about three (3)

or more shifts per Week for a total of about twenty (20) or more hours per week

15. While in Det`endants’ employ, Mitchell regularly and customarily worked about live (5)

or more shifts per Week for a total of about fifty-four (54) or more hours per week.

l6. At all times during Plaintii`fs’ employment, Det"endants had knowledge of all hours that

Plaintiffs worked and suffered or permitted Plaintill`s to work all hours alleged
l7. At all times throughout Plaintiffs’ employment with Defendants, Plaintit`i`s were

employees of Det`endants and were never independent contractors

Case 1:12-cV-01735-RC Document 1 Filed 10/24/12 Page 4 of 10

18. While it is true that Defendants titled Plaintiffs as independent contractors, at all times
while working for Defendants, Plaintiffs considered themselves as employees of Defendants and that
Defendants Were Plaintiffs’ employers

19. At all times while Plaintiffs were employed by Defendants, Defendants controlled all
aspects of Plaintiffs’ job duties through strictly enforced employment rules

20. Defendants, at all times, had the ability to discipline Plaintiffs, fine Plaintiffs, fire
Plaintiffs, and adjust Plaintiffs’ schedule

21. Defendants, at all times, supervised Plaintiffs’ work duties to make sure Plaintiffs’ job
performance was of sufficient quality

22. At all times while Plaintiffs were employed by Defendants, Plaintiffs’ pay and
opportunity for wages was limited to Plaintiffs’ pay method set by Defendants.

23. Defendants controlled all aspects of setting and controlling Plaintiffs’ schedule

24. Plaintiffs were never able to make more money or enjoyed more financial benefits if
Defendants were operating successfully and realizing increased or additional profits

25. At no time did Plaintiffs make a financial investment in Defendants (the company) or any
equipment belonging to Defendants.

26. To perform the work duties that Plaintiffs performed for Defendants, Plaintiffs did not
have or need any required certificate, education, or specialized training

27. At all times while Plaintiffs were employed by Defendants, Defendants were in the
business of operating a night club featuring exotic dancers and at all times it was Plaintiffs’ job duty to
perform as exotic dancers for Defendants’ customers

28. Plaintiffs did not perform work that is exempt from the minimum wage or overtime

requirement of the FLSA or DCMWA.

Case 1:12-cV-01735-RC Document 1 Filed 10/24/12 Page 5 of 10

29. During the time Plaintiffs were in Defendants’ employ, Defendants enforced a series of
fees and fines requiring Plaintiffs to pay Defendants in order to go to work.

30. For the majority of the time period that Plaintiffs worked, Defendants paid Plaintiffs no
wages for work duties performed

31. Starting in about January 2012, Defendants attempted to pay Plaintiffs as tipped
employees and attempted to use a “tip credit.” ln doing so, Defendants paid Plaintiffs at the rate of
$3.()0 per hour only for hours worked on stage, and not for all other hours worked by Plaintiffs.

32. Defendants are not entitled to enjoy or otherwise utilize the benefit of the “tip credit”
because Defendants did not pay Plaintiffs for all hours worked at the “tip credit” minimum wage and
because, as a product of the fees and fines Defendants assessed on Plaintiffs, Plaintiffs did not keep all
tips received from customers

33. Further, as a consequence of the fees and fines Defendants imposed on Plaintiffs, at no
time did Defendants pay Plaintiffs $3.00 per hour, or any positive amount, because the net result of the
fees and fines was that Plaintiffs’ regular hourly rate was actually properly calculated in the negative

34. Each shift Plaintiffs worked, Defendants required Plaintiffs to pay Defendants a “tip in”
fee in a predetermined set amount by Defendants, ranging from $25.00 on week nights and Sunday
night to $40.00 on Friday and Saturday night.

35. ln addition to the “tip in,” Defendants required Plaintiffs to pay Defendants’ disc jockey.
On the weeknights and Sunday night, Plaintiffs paid the one (l) disc jockey 315.00. On Friday and
Saturday nights, Defendants required Plaintiffs to pay the two (2) disc jockeys $20.00 per disc jockey,
a total of $40.00.

36. On a typical shift, Plaintiffs paid Defendants, through fines and fees, approximately

$60.00 or more to go to work.

Case 1:12-cV-01735-RC Document 1 Filed 10/24/12 Page 6 of 10

37. An average shift worked by Plaintiffs ranged from six (6) hours to eleven (l l) hours As
a consequence, while in Defendants’ employ, Plaintiffs average regular hourly rate ranged between
negative ten dollars (»$10.00) per hour ($60.00 per night/ 6 hours “-* -$l0.00 per hour) to negative five
dollars and forty-five cents (-$5.45) per hour (S60.00 per night / ll hours = -$5.45 per hour).]

38. At no time did Defendants pay Plaintiffs at an hourly rate at least equal to the Federal
Minimum Wage ($7.25 per hour) or the District of Colurnbia Minimum Wage ($8.25 per hour).

39. At no time did Defendants pay Plaintiffs for overtime hours worked at an hourly rate at
least equal to the minimum F ederal Overtime Rate ($7.25 * l.5 = $lO.SS per hour) or at an hourly rate
at least equal to the minimum District of Colurnbia Overtime Rate ($8.25 * l.5 = 312.38 per hour).

COLLECTIVE ACTION ALLEGATIONS

40. Plaintiffs are pursuing this action as an FLSA collective action on behalf of themselves
and all other similarly situated individuals who performed work duties as exotic dancers for
Defendants at Defendants’ House exotic night club.

41. ln the present case, the questions of law or fact common to the members of the class
predominate over any questions affecting only individual class members

42. 'l`he essence of this entire case is that the Plaintiffs and others similarly situated
individuals were improperly classified as independent contractors and, as a consequence, Def`endants
failed to pay these individuals wages and overtime compensation as required by Federal and District of
Columbia law.

43. Specifically, Plaintiffs and each class member are seeking unpaid minimum wages,

overtime compensation, and damages from Defendants under the FLSA and DCMWA.

 

1 During the time Defendants paid Plaintiffs $3.00 for only on~stage hours, the calculation differs, but still
calculates to a net-negative regular hourly rate, less than the Federal and District of Columhia Minirnum
Wage.

Case 1:12-cV-01735-RC Document 1 Filed 10/24/12 Page 7 of 10

44. ln the present case, the number of putative plaintiffs (individuals who have worked for
Defendants between the dates October 24, 2009 and the present) is believed to exceed fifty (50)
current and former exotic dancers.

45. All class members are readily identifiable from information and records, on information
and belief, in the possession and control of the Defendants

W
COUNT I
Violation of Federal Fair Labor Standards Act
(Minimum Wage)

46. Plaintiffs reallege and reassert each and every allegation set forth in Paragraphs 1-45
above, as if each were set forth herein.

47. Section 206(a)(l) of the FLSA provides that no employer shall employ any employee for
an hourly wage of less than the federal minimum wage, currently $7.25 per hour.

48. At all times, Plaintiffs were “employees” covered by the FLSA, 29 U.S.C. § 206(a)(l).

49. At all times, all three (3) Defendants were Plaintiffs’ “employers” under the FLSA.

50. Each Defendant, as Plaintiffs’ employer, was obligated to compensate Plaintiffs for all
hours worked at an hourly rate not less than the F ederal l\/linimum Wage.

51. At all times relevant, Defendants paid Plaintiffs at a variable net negative regular hourly
rate for non-overtime hours worked each week.

52. At all times relevant, Plaintiffs’ net negative hourly rate fell below the applicable Federal
l\/linimum Wage.

53. Defendants have failed and refused to compensate Plaintiffs (and others similarly

situated) at an hourly rate at least equal to the Federal Minimum Wage as required by the FLSA for

numerous hours worked.

Case 1:12-cV-01735-RC Document 1 Filed 10/24/12 Page 8 of 10

54. Defendants’ failure and refusal to pay compensation to Plaintiffs as required by the FLSA
was willhll and intentional, and not in good faith.

WHEREFORE, Defendants are liable, jointly and severally, to Plaintiffs (and all others similarly
situated who join in this suit) for unpaid minimum wages in such amounts as are proven at trial, plus
an equal amount in liquidated damages, interest (both pre- and post-judgment), attomey’s fees, the
costs of this action, and any other and further relief this Court deems appropriate

COUNT II
Violation of Federal Fair Labor Standards Act
(OVertime)

55. Plaintiffs reallege and reassert each and every allegation set forth in Paragraphs l-54
above, as if each were set forth herein.

56. Section 207(a)(l) of the FLSA provides that no employer shall employ any of its
employees for a workweek longer than forty (40) hours unless such employee receives compensation
for her employment in excess of the hours above specified at a rate not less than the higher of one-and~
orie-half (l %) times the regular rate at which she is employed or one-and-one half times the F ederal
Minirnurn Wage.

57 . At all times, Plaintiffs were “employees” covered by the FLSA, 29 U.S.C. § 207(a)(l),
and all three (3) Defendants were Plaintiffs’ “employers” under FLSA, 29 U.S.C. § 207(21)(2).

58. Defendants, as Plaintiffs’ employers, were obligated to compensate Plaintiffs at the
overtime rate of one-and-one-half (l */2) times the higher of Plaintiffs’ regular rate of pay or the
applicable Federal Minimum Wage for all hours worked per week in excess of forty (40).

59. As set forth above, while in Defendants’ employ, l\/litchell worked many hours each week

in excess of forty (40).

Case 1:12-cV-01735-RC Document 1 Filed 10/24/12 Page 9 of 10

60. As set forth above, Defendants failed and refused to compensate Mitchell properly, and
as required by the FLSA, for all overtime hours worked each week in excess of forty (40).

6l. Defendants’ failure and refusal to pay Mitchell as required by the FLSA for overtime
hours worked each week was willful and intentional, and was not in good faith.

WHEREFORE, Defendants are liable, jointly and severally, to Mitchell (and all other similarly
situated individuals that join this action) under Count ll for all unpaid overtime wages in such amounts
as are proven at trial, plus an equal amount in liquidated damages, interest (both pre- and post-
judgment), reasonable attorney’s fees, the costs of this action, and any other and further relief this
Court deems appropriate

COUNT III
Violation of D.C. Minimum Wage Act Revision Act of 1992
(Minimum Wage)

62. Plaintiffrealleges and reasserts each and every allegation set forth in Paragraphs l-6l

above, as if each were set forth herein

63. Plaintiff was an “employee,” and all three (3) Defendants were Plaintift`s “employers”

within the meaning of the DCl\/IWA, D.C. Code §§ 32-1001 et seq.

64. Under the DCMWA, Defendants, as Plaintiffs’ employers, were obligated to pay Plaintiff

the minimum wage of at least the DCMWA Minimum Wage, $8.25 per hour.

65. For all hours worked by Plaintiffs, Defendants paid Plaintiffs at a net negative regular

hourly rate that fell below the DCMWA l\/linimurn Wage.

66. The DCMWA requires that an employer pay its employees, for a workweek longer than
forty (40) hours, at a rate not less than the higher of one-and~one-half (l 1/z) times the regular rate at

which she is employed or one-and-one half times the District of Colurnbia Minimum Wage.

Case 1:12-cV-01735-RC Document 1 Filed 10/24/12 Page 10 of 10

67. As set forth above, while in Defendants’ employ, Mitchell worked many hours each week

in excess of forty (40).

68. As set forth above, Defendants failed and rothsed to compensate Mitchell properly, and

as required by the DCMWA, for all overtime hours worked each week in excess of forty (40).

69. Defendants’ failure and refusal to pay minimum wage compensation and overtime wages

due as required by the DCMWA was willful and intentional, was not the result of any bona.]?de dispute

between Plaintiffs and Defendants, and was not in good faith

WHEREFORE, Defendants are liable, jointly and severally, to Plaintiffs (and all others similarly

situated who have joined in this suit), under Count III, for all unpaid minimum wage compensation and

overtime wages in such amounts to be proven at trial, plus liquidated damages in an equal amount,

interest (both pre- and post-judgment), attorney’s fees, costs, and any other and further relief this Court

deems appropriate

lO

Respectfully submitted,

/@%/é

Gf»e§/g Of/Greenberg, Bar No'."ll/ID l 7291

Mw%il,ie

 

Gaim J. Mcnomagh, sat Ne. Mnisi 17

”Flhe Zipin Law Firm, LLC

8403 Colesville Road, Suite 610

Silver Spring, Maryland 20910

Phone: 30l-587-9373

Fax: 301-587~9397

Email: ggreenberg@zininlaw.com
jmcdonough@zipinlaw.com

Counseljf:)r Plainti]jfs'

